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                           IN THE UNITED STATES DISTRICT COURT FOR THE
                                     EASTERN DISTRICT OF VIRGINIA
                                             Alexandria Division

 UNITED       STATES             OF AMERICA


 V.



 BASIR CHAND,


         Defendant.




      Before the Court is Basir Chand's pro se Motion Under 28

U.S.C.        §       2255       to Vacate,    Set Aside,   or Correct Sentence By a

Person in Federal Custody                       ("§ 2255 motion")     (Docket No.   329),   in

which the defendant asks the Court to re-sentence him to time

served and allow him to depart from the United States

voluntarily.                     Chand raises several issues in his motion,         arguing

that his rights were violated when he was deprived of effective

assistance of counsel,                       the prosecutor engaged in misconduct,

disparate sentences were imposed on co-defendants,                          the Vienna

Convention on Consular Relations was not followed,                          and the final

restitution order was entered without Chand having an opportunity

to be heard.                 He requests an evidentiary hearing on these issues.

For the reasons stated below,                      the Court finds that an evidentiary-

hearing is unnecessary,                      and the § 2255 motion will be dismissed

without the need for a response from the United States.1




      1 "If it plainly appears from the motion, any attached
exhibits, and the record of prior proceedings that the moving
party is not entitled to relief, the judge must dismiss the
motion    .       .    .    ."     Rule 4,    28 U.S.C.   foil.   § 2255.
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 I.      Background


         On June 21,    2007,   a grand jury returned an indictment

 charging Chand and five other co-conspirators with conspiracy,

 engaging in a continuing financial crimes enterprise,                      and

multiple counts of mail fraud.               These charges arose out of multi-

million dollar scheme that defrauded numerous financial

institutions.         At his arraignment on June 26,            2007,   Chand was

represented by Alfred Robertson,                 who was allowed to withdraw from

the case after Chand retained Thomas Abbenante,                    who entered his

appearance on July 13,          2007.     On July 31,     2007,    Chand,

represented by Abbenante,          pled guilty to Count 1            {conspiracy to

commit mail fraud and to organize, manage,                   and supervise a

continuing financial crimes enterprise in violation of 18 U.S.C.

§ 371)    and Count 4     (mail fraud affecting a financial institution

in violation of 18 U.S.C.          § 1341)       of the pending indictment,          and

the remaining counts against him were dismissed.                     At the plea

hearing, Abbenante made an oral request for reconsideration of

bond, but the request was denied,                and Chand remained in custody.

See Change of Plea Hr'g Tr.             31-35,    July 31,   2007.

      Between the plea hearing and the sentencing hearing,                        Chand

became dissatisfied with how Abbenante was representing him.                         On

October 1,    2007,    the Court received copies of letters Chand had

sent to the American Bar Association and Abbenante,                     in which he

complained that he had "serious concerns about                    [Abbenante's]
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    professional ethics,         poor service and lying to            [Chand]     as a

    client" and indicated that he wanted to file an official

    complaint against Abbenante.              Despite these complaints,           Chand did

    not file a motion to withdraw his guilty pleas.

            On October 24,      2007,    without any objection from Chand,

Abbenante withdrew from the case after Chand retained his prior

    counsel,       Alfred Robertson.        Robertson then represented Chand at

    the November 9,         2007 sentencing hearing.         At that hearing,        Chand

was sentenced to 60 months imprisonment on Count                         1 and 78 months

on Count           4,   to run concurrent with Count        1,    with   credit   for time


served,        3    years of   supervised release,        and a $200      special

assessment.             Chand did not      file an appeal of his sentence.2

XX.     Discussion


A.       Xneffective Assistance of Counsel Claims


        To succeed on an ineffective assistance of counsel claim,                              a

movant must satisfy the two-prong test established in Strickland

v.    Washington.         466 U.S.   668    (1984).     First,    he must show that

counsel's performance was                "deficient."      Id.    at 687.   Deficient

performance is shown when "the identified acts or omissions                              [of

counsel]       were outside the wide range of professionally competent

assistance."             Id. at 690.     However,      counsel is "strongly presumed




        2 On October 24,         2008,     the Court granted the Under Seal
Motion filed by the United States,                    reducing the defendant's
sentence to 30 months.               On October 30,       2008,   Chand filed a timely
§    2255    motion.
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 to have rendered adequate assistance."               Id.    Second,   a movant


must show that     "there     is a reasonable probability that,           but   for

counsel's unprofessional errors,            the result of the proceeding

would have been different."          Id.    at 694.     When a prisoner

challenges     a conviction resulting from a guilty plea,


Strickland's second prong requires the movant to                   "show that there

is a reasonable probability that,           but for counsel's errors,           he

would not have pleaded guilty and would have                 insisted on going to

trial."     Hooper v.   Garraghty.    845   F.2d 471,       475   (4th Cir.   1988).

Chand has    the burden of proving both of            these prongs.


        Chand contends that Abbenante was constitutionally deficient

in advising him on his plea agreement and that Robertson provided

ineffective assistance at        the sentencing proceeding and by

failing to file an appeal of Chand's sentence.                    Chand's numerous

ineffective assistance of counsel claims will be addressed in

turn.


1.      Ineffective Assistance as to the Plea Agreement


        Chand claims that Abbenante was constitutionally deficient

because he failed to      "explain or properly advise"             Chand during

the plea negotiations and threatened Chand,                 forcing him to sign

the plea agreement,      thereby rendering his guilty pleas

involuntary.     Mem.   Br.   in Supp.   of Mot.    Under 28 U.S.C.      § 2255 at

4.   He also appears to argue that Abbenante                failed to adequately

represent him on issues related to his             immigration status.
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       The record of the plea colloquy under Fed.             R.   Crim.    P.   11

undermines Chand's argument that he did not voluntarily and

intelligently plead guilty to Counts 1 and 4 of the indictment.

During the plea colloquy,     Chand was under an affirmation to tell

the truth in answering all of the Court's questions.                  Plea Hr'g

Tr.   2.   He informed the Court that he was        forty-three years old,

had no difficulty reading,        writing,    understanding,       or speaking

English,   and had completed two masters degrees in the United

States.    Plea Hr'g Tr.   3-4.     When asked about his plea agreement,

Chand stated that he had first        seen a copy of    the plea agreement

seven or eight days before the hearing and he affirmed he had

read the plea agreement     "word for word."        Plea Hr'g Tr.          4.


Furthermore,    he stated that he had met with Abbenante to discuss

the plea agreement,    had asked Abbenante all the questions he had

about the plea agreement,     and that Abbenante had answered all of

his questions about the plea agreement.            Plea Hr'g Tr.      5.

Contrary to what he alleges       in his     § 2255 motion,    Chand informed

the Court that he did not have any questions he wanted to ask

about the plea agreement and acknowledged the accuracy of the

last two sentences in his plea agreement,          which stated "I have

read this plea agreement and carefully reviewed every part of it

with my attorney.     I understand this agreement and voluntarily

agree to it."    Plea Hr'g Tr.     5-6.    Chand also answered that no

one had put any force or pressure on him to plead guilty.                       Plea
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 Hr'g    Tr.    23.


         Chand is bound by his statements,             made under affirmation,       at

 the plea colloquy.           See Beck v.     Anqelone.     261 F.3d 377,   395-96

 (4th Cir.       2001)    ("Absent clear and convincing evidence to the

 contrary,       [the defendant]      is bound by the representations he made

during the plea colloquy."             (internal quotations omitted)).          Chand

has presented only his own self-serving affidavit to support his

claim that he was not properly advised about the plea agreement

and entered it under pressure,               and,   thus,   has not presented

"evidence of sufficient evidentiary force to demonstrate that his

representations were untruthful or involuntary."                    id.

        Next,    Chand complains that Abbenante failed to protect his

immigration status.           Again,    the record contradicts that claim.

The plea colloquy put Chand on clear notice of the immigration

ramifications if he pled guilty.                The Court explained to Chand

during the colloquy that he would be eligible for deportation if

he was convicted of Counts 1 and 4,                 and he stated that he

understood.           Plea Hr'g Tr.    18.   The Court also explained that if

Chand were ordered deported that would not constitute a breach of

the plea agreement,          and Chand acknowledged that he understood

that.     Id.     Finally,    Chand was asked if he was         "fully satisfied"

with his attorney's representation in the case,                  and he answered

yes.     Plea Hr'g Tr.       19.


        Based on the answers given by Chand under an affirmation,
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there is no evidence that Abbenante's performance was deficient

or that Chand's pleas were       involuntarily made.         Moreover,      Chand

does not claim that he is       innocent of either or both of the

crimes to which he pled guilty.         To the contrary,        during the plea

colloquy he volunteered significant admissions              about his conduct.

For example,       when asked how he became    involved with the       co-


defendants    he    answered:


             Mr. Hameed approached me through Jawad Ahmad,
             and they asked me in the beginning can I do
             something computer-related . . . and a couple
             of months down the road,     I   realized   that   they
             were asking me to design some pay stub, and
             further down the road, they asked me "Can you
             design some I.D.?" . . . So I scanned some
             I.D.'s and changed the names and things like
             that . . .  six or seven months later down
             the road, I realized that these people are
             doing something related to credits and loans.


Plea Hr'g Tr.      25-26.   Chand also admitted that he made and used

false   identifications     to make various    cash withdrawals       and

described keeping most of       the money he withdrew as        compensation

for the work he was doing for Hameed.           Plea Hr'g Tr.     26-27.

Indeed,   the relief Chand seeks    -   to be re-sentenced and to be

allowed to voluntarily depart from the United States              -   is not

consistent with a claim that the pleas were involuntary or that

he was prejudiced by his counsel's performance because he does

not claim that,      but for his counsel's errors,       he would not have

pled guilty and proceeded to trial.           See Hooper.    845 F.3d at 475.
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2.    Ineffective Assistance as      to the Sentencing Hearing


      Chand's remaining ineffective assistance of counsel claims

involve the November 9,     2007 sentencing hearing,        when he was

represented by Robertson.       Chand asserts       that Robertson was

ineffective because he failed to object to an "overstatement"                of

Chand's role in the offense,      failed to object to the prosecutor's

violation of an alleged immunity order,            did not provide Chand

with a copy of    the presentence report      ("PSR")    so that he might

correct or contest certain information in the report,              did not

provide the Court with all of his reference            letters,   and failed

to file an appeal of the sentence,       even after Chand asked him to

file an appeal.3

     First,    Chand argues that his counsel was constitutionally

deficient because he failed to object to the            "overstated"   role in

the offense attributed to him,       which he claims      led to an improper

sentencing enhancement.      See Mem.   Br.   8.    Chand received a two-

level increase for abusing a position of trust pursuant to United

States Sentencing Guidelines     §   3B1.3.    Although Chand argues and

avers in his affidavit that Robertson failed to object to the

enhancement,   see Chand Aff.   f 69,   this contention is not

supported by the record.     As the sentencing memorandum filed by



     3 Chand also argues that Robertson was deficient because he
failed to properly handle matters related to his Chand's
extradition.  These matters do not affect the inquiry into
whether the imposition of the sentence violated Chand's
constitutional   rights.
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Robertson demonstrates,            he objected to the two-level enhancement

 for abuse of trust,        arguing that such an enhancement was not

supported by the facts of            the case.          See Def.'s Pos.          of       [sic]

Sentencing 1-3.        Moreover,        at the sentencing hearing,                   Robertson

again stated his objection to the two-level enhancement.

Sentencing Hr'g Tr.         3,   Nov.     9,   2007.     Although the Court rejected

the defense position,            defense counsel's lack of success does not

make his performance deficient.                  Cf.    Bell v.    Evatt.       72 F.3d 421,

429     (4th Cir.   1995)   ("Standing alone,            unsuccessful       .    .    .   tactics

neither constitute prejudice nor definitively prove ineffective

assistance of counsel.").

        Next,    Chand argues that Robertson failed to object to the

prosecutor's violation of an alleged immunity order.                                 There is no

record of an immunity order being requested or issued in this

case.     As discussed below,           it appears that Chand may be confusing

the term "immunity order"           with "proffer letter."              Chand has not

provided any evidence establishing that the government violated

the terms of a proffer letter,                 and,    thus,   there is no support for

a finding that Robertson provided ineffective assistance by

failing to object to this alleged violation.

        Third,   Chand argues that Robertson was ineffective because

he did not provide Chand with a copy of the PSR before the

sentencing hearing and,           thus,    prevented Chand from making

corrections to errors in the report.                    However,    in his affidavit
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and in a      letter to Robertson that Chand provided to the Court,

Chand indicated that he was               informed of    the   contents of    the   PSR

before his sentencing.             See Chand Aff.       UU 62-63;     Letter from

Chand to Robertson         (Jan.    31,   2008)    (Docket No.    200).    Moreover,


Chand never raised any objections                 to the PSR with the      Court,

despite      the opportunity to do so,            and he did not object when his

lawyer declined to make any corrections,                 changes,      additions,   or

deletions      to the report.        Sentencing Hr'g Tr.         2.    Furthermore,

before he began his allocution,              Chand was asked if he was

satisfied with the way Robertson had represented him.                        Sentencing

Hr'g Tr.      13.    He answered yes.        Id.    Finally,     during his


allocution,         Chand never mentioned that he had any objections to

the contents of the PSR.4            Sentencing Hr'g Tr.          13-15.   On this

record,      there is no evidence that Chand was deprived of effective

assistance of counsel as to this aspect of his sentencing.

        Chand also complains that Robertson was deficient because he

failed to file all of        the character letters written on his

behalf.       Chand does not       identify the contents of           these missing

letters or how they might have affected his                    sentence.   The record

shows    that the Court received many letters written on Chand's

behalf      from individuals in both the United States and Pakistan




        4 During his allocution,          Chand reaffirmed his guilt,          saying
"I do know that I commit [sic] a crime against financial
institution, and I am really sorry for that."  Sentencing Hr'g
Tr.   14.


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and considered them before fashioning the sentence.                   Sentencing

Hr'g Tr.    9.   Additional character letters of          the type already

received would not have affected the sentence,              and,     thus,       failure

to provide all of the letters does not support a claim that

counsel was      ineffective.


      Finally,    Chand argues that Robertson's performance was

deficient because he       failed to file an appeal of            the sentence

after Chand requested that he do so.           The   Fourth Circuit has held

that an attorney who disregards a defendant's unequivocal

instruction to file an appeal is per se ineffective,                 even if the

defendant has waived his right        to appeal,     as   Chand did in his

guilty plea.      See Plea Agreement § 6      (waiving the right to appeal

any sentence     that was within the statutory maximum);             United

States v.    Poindexter.   492   F.3d 263   (4th Cir.     2007).


      The burden is on Chand to establish that he unequivocally

instructed Robertson to file an appeal.            The only evidence Chand

offers about his instructions to Robertson appears in paragraphs

72 and 74 of his 107 paragraph affidavit.            In paragraph 72,                he

avers that   "immediately after sentencing I instructed Mr.

Robertson to contest against the immunity violation[,]                 .     .   .

overstated role in the offense without factual base,                 and also

attack on the issue of enhancement."          He then references a letter

dated November 15,     2007 described as Exhibit J,          which he claims

demonstrates     "that defendant strongly advice          [sic]    to his defense



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 attorney Mr.    Robertson    to   follow up any legal   course against


 sentencing.     Mr.   Robertson failed to protect his client's

 interest and let the time expire to file the appeal."                Chand Aff.

 U 72.     The letter referenced in that paragraph is not attached,

 and therefore,    is not    in evidence.5    In paragraph 74,       Chand

 simply repeats that      "Robertson fail    [sic]   to appeal even though

his client strongly instructed to do so" without providing any

evidence to support this statement.           Chand Aff.   K   74.

         Chand's affidavit does not explicitly state that he actually

directed counsel to file an appeal.           Even if the affidavit more

clearly made that assertion,          without corroborating evidence that

a clear request was made to Robertson,            the Court finds no reason

in this case to accept the veracity of the affidavit or to

require a response from Robertson because the entire affidavit is

inherently unreliable.


      The evidence of unreliability includes the numerous

inaccurate averments about the record,            as discussed above.

Throughout his affidavit,          Chand makes claims that directly

contradict the statements he made under affirmation to the Court

during the Rule 11 colloquy.          Moreover,   there is an extensive

record of post-sentencing communications Chand sent the Court,

none of which questioned the status of his appeal or complained




     5
         Also missing from movant's papers are exhibits E,             H,    I,   K,
and L.


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about Robertson's             failure    to file an appeal.                  For example,             in a


letter to Robertson dated January 31,                        2008,      Chand vigorously


criticizes Abbenante's performance and the                             conduct of          the


prosecutors.           He    also asks       Robertson to do various                 things,          such


as asking the probation officer about the alleged late disclosure

of    the PSR.        Of    significance to the pending                 §    2255 motion is             the

absence of       any question to Robertson about                     the      status       of    the


appeal Chand claims he directed Robertson to file.                                    See Letter

from Chand to Robertson                (Jan.    31,    2008)    {Docket No.           200).

        On March 20,         2008,     the    Court    received an inquiry from Chand


in which he       questioned two docket                entries    in his           case.        See


Letter from Chand to             the Clerk of          Court    (Mar.        14,    2008)       (Docket


No.    228}.     Obviously,       that       letter establishes              that Chand was

reviewing       the    docket.        Such review would have                revealed that no


appeal had been filed             -   yet nowhere        in the March 20,              2008       letter

does    Chand raise a question about                   the docket not              reflecting the

filing of       an appeal.       See     id.


       On April        14,   2008,    Chand wrote to the undersigned asking for

a public defender to be               appointed to his case because                        "US

Attorney       [sic]    office is bringing me back into court                          (between

April 18       - May 5th,     2008)     for some pending issues."                     See Letter

from Chand to Judge Brinkema                   (Apr.   14,     2008)        (Docket No.          244).

Chand also complained about Robertson's                         conduct       and his       failure


to respond to Chand about               the PSR but,           again,       there is no mention




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of    any failure    to    file an appeal.           See    id.


        On April    8,    2008,    Chand sent     the Court         a copy of    a   letter he


wrote    to Robertson on April          2,    2008    with the heading          "for


information only,"          in which he continued to complain about                         the

case and his       PSR.     In the postscript to that                letter he mentions

an appeal    for the       first   time,     stating,       "[w]e also have an

understanding that you will             appeal       the whole       case after May          5,


2008."     This sentence completely contradicts                      Chand's claim in his


affidavit    that he       instructed Robertson to file an appeal                      in

November    2007.


        In addition,       on August 28,      2008,        Chand,    proceeding pro         se.

filed a Motion for Removal/Withdraw Attorney on                         [sic]    Record

(Docket No.       326),    contending that Robertson failed to respond to

his various       requests.       Although he        lists    five    specific complaints

about Robertson's          conduct,   Robertson's           failure    to   file an appeal


was not    listed as       a basis    for Chand's dissatisfaction.


        Lastly,    the    Court observes      that,     during this         time period,

the United States Attorney was considering whether to file a Rule

35(b)   motion.      The government finally filed that motion on

September 24,       2008,   and it was granted on October 24,                    2008.       The

motion resulted in Chand's sentence being reduced by over 60

percent.     Five days after his sentence was reduced,                        Chand filed

his   § 2255 motion.        Had Chand appealed his                sentence,     and thereby

violated his plea agreement,            the government most likely would not



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have    filed a Rule    35 (b)    motion.


        Given this    record there           is no reliable evidence other than

Chand's self-serving,          highly impeached affidavit,                  that Chand

directed Robertson to file an appeal within the time period in

which an appeal       could be filed.               To the extent        that Chand raised

the appeal    issue    in the April 2,              2008    letter to Robertson when he

discussed appealing the whole case                    "after May 5,        2008",    such a

notice    of appeal would have been a totally futile                        act because a

notice of appeal in a criminal case must be                       filed within ten days

of   the sentence being imposed,               or if excusable neglect              is    shown,

30 days.     See Fed.    R.    App.     P.    4(b).        The final     judgment was


entered on November 9,           2007,       and an amended judgment was entered

on December 17,       2007    after a minor correction was made.                         Even


using    the December 17,        2007    date,      a notice of        appeal had to be

filed by December 27,          2007 or January 26,              2 008,   if excusable

neglect was    shown.        May 5,     2008    was over three months           too late.

B.      Prosecutorial Misconduct


       Chand claims that the government engaged in prosecutorial

misconduct when the Assistant United States Attorney violated an

alleged immunity agreement and broke other promises he made to

Chand during plea negotiations.                  Chand claims that the Assistant

United States Attorney used information "protected by the proffer




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letter"     during the sentencing hearing before                   the Court.6      Mem.

Br.    9.   However,    Chand does not        state with particularity what


information was        improperly used or how it violated the terms                      of


an alleged immunity agreement or a proffer letter,                        neither of

which are     in the    record.     Accordingly,          the Court does not        find

that    the government     engaged in misconduct.


        Chand also claims       that    the government breached certain

promises made       to him that were not           included       in the plea


agreement,     specifically promises as             to    immigration,     his


extradition/treaty transfer,             and his bail motion and seeks relief

under Santobello v.        New York.        404   U.S.    257   (1971).    Chand,


however,    fails   to provide      any evidence,          other than his own


allegations,     that    the prosecutor made             any of   these promises        to


him or his attorney.         Moreover,        Chand's plea agreement contained

an integration clause        that      stated that        "the defendant and his


attorney acknowledge        that no         ...   promises,       or representations


have   been made,      nor agreements        reached,     other    than   those   set


forth in writing in his plea agreement,                   to cause    the defendant to

plea guilty."       See Plea Agreement fl 21.              Most significantly,

Chand was asked during the plea colloquy whether he had any                             side


deals or understandings not contained in the written plea

agreement,    and he answered         "I don't think so."            Plea Hr'g Tr.         7.




       6 Although the heading of this section refers to an
"immunity agreement,"       Chand refers          to a    "proffer letter"        in his
argument    section.     Mem.   Br.    9.


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The    Court    then asked Abbenante whether there                   were    any side       deals


or side agreements          "other than what's             written in       the plea


agreement."        Id.     Abbenante    answered,          "No,    your Honor.        The


written plea agreement             that's before the Court which you're


questioning Mr.          Chand about now is          the complete agreement between


Mr.    Chand,   myself,     and the United States."                 Id.     To be    sure Chand

had the    same understanding,          he was       then asked,          "Mr.    Chand,    is


that your understanding as well?"                   to which he answered             "yes".

Id.     Because Chand has          not presented any evidence that                   any


additional promises were made             to him or his attorney,                   and the

express    terms of       the plea agreement          state       that    there were no          such


agreements,       the    Court    concludes    that    the government             did not


breach the plea agreement.              See,       e.g..    United States v.          Peglara.


33    F.3d 412,    413    (4th Cir.    1994)       ("[I]n enforcing plea

agreements,       the government       is held only to            those promises           that   it


actually made to         the     defendant.").


C.      Sentence Disparities Among the Co-Conspirators


        Chand also argues          that his    rights were violated because

there were disparities between the                   sentences      Chand and his           co-

conspirators      received.         Specifically,          Chand claims          that his


attorney failed to argue at             sentencing that            the Court        should

depart    from the Guidelines          and give Chand a            lesser sentence

because    Chand was      eligible     for deportation,            and,    therefore,       would


be    ineligible for early release from prison.                      A co-conspirator of


Chand,    Nairn Mann,     did receive a downward departure,                      in part


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because he was       facing deportation,             and Chand claims        that he       is


entitled to the         same   relief.

        Once again,      Chand's    averments        in his    affidavit     are


inaccurate.        Robertson did ask          the Court       to consider the effect


of    Chand's potential        deportation on his            sentence.      See


Defendant's      Position of       [sic]     Sentencing 4-5;          Sentencing Hr'g Tr.


12.     In the   sentencing memorandum and at                 the hearing,        Robertson


mentioned that       Chand was      likely to receive           a higher security


designation from the           Bureau of      Prisons      because he was         facing


removal.     Id.     In addition,          he argued in his         sentencing


memorandum that         the Court      should consider         that   Chand was         facing


removal and the         fact   that he would be            ineligible     for placement in


a halfway-house because of his                status       in evaluating the        §   3553(a)


factors.     See Def.'s        Position of         [sic]   Sentencing 4-5.         The

Court's decision not           to grant Chand such a downward departure


does not establish that Chand was                  rendered ineffective

assistance.7

D.     Violation, of      the Vienna Convention on Consular Relations


       Chand next       claims    that his     rights were violated because                law


enforcement officials            failed to notify the          Canadian consulate of




       7 All six of the seven named defendants who pled guilty were
required    to plead to        Count   1    (conspiracy)      and a    substantive
count.     The   lead   defendant,         Abdul   Hameed,    who   was   found guilty
upon admitting the facts, was sentenced to 212 months
imprisonment.  Bilal Saleem received the same 78 month sentence
as Chand, but unlike Chand, has not had his sentence reduced.
Other defendants received sentences similar to the 30 months
Chand received after his sentence was reduced.

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his arrest as        is required by Article 36 of                           the Vienna Convention

on Consular Relations               ("Vienna Convention").                     He    claims    that    if

he had been able          to    communicate with the Canadian Consulate,                               he


might not have been pressured into pleading guilty by his

attorney or might have been able                          to retain a         competent attorney.


He also contends          that      the    failure        to    inform       the    consulate


violated his        constitutional              rights     and deprived him of due


process.      These claims           are without merit.


       Article      36 of      the Vienna Convention requires authorities of

signatory nations who arrest                     a   foreign national               to notify the


national's consulate of his arrest,                            if    the    foreign national          so

requests,     and to allow the national to                           communicate with consular


officials.         See Vienna Convention on Consular Relations art.                                    36,

Apr.   24,   1963,   21     U.S.T.        77,    100-101.            However,       Chand does      not


indicate     that he asked           law enforcement officials                       to   contact     the


Canadian consulate.8             Moreover,           the failure of arresting

officials     to notify a defendant of his                           rights   to consular

notification does not               require vacating a guilty plea.                           Cf.

Sanchez-Llamas v.         Oregon.          126   St.      Ct.       2269,   2681     (2006)    (holding


that   failure to inform defendant of his Article                                  36   rights did not

require application of               the exclusionary rule).




       8 The record is unclear as to whether Chand is a citizen of
Canada.      The   Pretrial         Services Report              indicated that           Chand
reported     that he was        a    citizen of           Pakistan.          However,      the
Presentence Report states                 that       Chand      is   a citizen of         both
Pakistan and Canada.

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E.      Failure to Protect a Government Witness


        Chand claims       that    the government               failed to protect him and

his    family from attacks          from his co-defendants.                     There    is no

evidence       in the    record to       support         the allegation that            such

attacks      occurred.      Even    if    they had,         such acts      would not be          a


basis upon which to vacate,                set-aside,            or correct his sentence.


F.      Restitution Order


        In the     Statement      of the       Issues,      Chand argues         in    "Issue


Seven"      that his     rights were violated because he did not have a

chance      to contest     the    final    Restitution Judgment                 entered on July


22,    2008.      This   issue,    however,          is not      addressed in Chand's


supporting memorandum.              In his          affidavit supporting              the motion,


Chand states        that he was not given an opportunity to contest or

correct the restitution order.                      Chand Aff.       ^ 93.       He also claims

that neither his          attorney nor the               Court    informed him of         the


judgment       against    him.     Id.

        Chand waived any objection to                     the    restitution order           in his


Plea Agreement,          where    he agreed to            "the   entry of       a Restitution


Order    for the full amount of                the victims'         losses."       Plea


Agreement H 10.           At the time of the plea,                 the government

estimated the losses would total approximately $3,000,000,                                      and

this   estimate is        included       in paragraph 10           of    the    Plea Agreement.

Id.    During     the    colloquy,       the    Court     reviewed paragraph            10   with


Chand,      who acknowledged       that        he   would have      to make       restitution as


part   of   his   plea agreement.              Plea Hr'g Tr.        8.     He   also    told     the


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Court that he had discussed that issue with counsel.                                Plea Hr'g

Tr.   9.   This record establishes              that   the Plea Agreement and the

discussion at the plea colloquy gave Chand clear notice of,                                  and

Chand agreed to,        the entry of a restitution order,                     and it was

estimated that restitution would amount                    to at least         $3   million.

Plea Hr'g Tr.     17.    At     the sentencing hearing,             the Court informed

Chand again of his obligation to pay restitution to the victims

of his crimes once the           final amount was determined by the Court,

and Chand stated that he understood.                     Sentencing Hr'g Tr.               17.

       When the Restitution Judgment was                  finally entered against


Chand on July 22,        2008,    he was       ordered to pay $3,133,984.44

jointly and severally with his                 co-defendants.           To   the extent


Chand is arguing that he did not have an opportunity to contest

the   final   restitution order,          the Court       finds    that      Chand was not


prejudiced because he           had already agreed to             the    entry of      a


restitution order for the           full       amount of    the victims'            losses       in

his plea agreement and at           the    sentencing hearing.               Moreover,           the


final amount of     restitution,          $3,133,984.44,          was not materially

different     from the    "at    least    $3   million"     in losses         the   government


estimated     in his plea agreement             and at   the   sentencing hearing.


Accordingly,    the Court        finds    that      Chand's rights were not

violated by the entry of           the Restitution Judgment because he had

several opportunities           to object      to it,    but   did not.




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III.   Conclusion


       For   the    above-stated reasons,     Chand's   §   2255   motion will    be


dismissed by an Order to be         issued with this Memorandum Opinion.

       Entered this      IJ.   day of June,    2009.

Alexandria,        Virginia




                                                   Leome M. Brinkema
                                                   United States District Judge




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